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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK
              -------------------------------------------------------X
              ARNULFO MALDONADO, SANTIAGO,
              HERRERA, JORGE LEYVA CABRERA, and
              DOMINGO JUAREZ, individually and on                                Index No. 20-cv-6850
              behalf of others similarly situated,
                                                                               ORDER TO SHOW CAUSE
                                                Plaintiffs,

                               -against-

              TAVERNA KYCLADES, INC. (D/B/A)
              TAVERNA KYCLADES, and THEMIOS
              PAPADOPOULOS,

                                                  Defendants.
              -------------------------------------------------------X
                       Upon the declaration of Clela A. Errington, Esq. dated March 4, 2021 and attached

              exhibits, it is ORDERED:

                      That Defendants TAVERNA KYCLADES, INC. and THEMIOS PAPADOPOULOS,
                                            on the following conference call line: 888-363-4749, access code 558-3333
                                         xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
              shall appear to show cause before a motion term of this Court at Courtroom ___ of the United

              xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
              States Courthouse at 40 Foley Square, in the City, County and State of New York, on
                                    11:00 a.m.
                4/1/21
              _________, 2021, at xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                                  _______ o’clock in the _________ noon thereof, or as soon thereafter as

              counsel may be heard, why judgment of default should not be entered pursuant to Rule 55 of the

              Federal Rules of Civil Procedure against such Defendants; and it is further

                      ORDERED that service of a copy of this Order and annexed affirmation and exhibits
                                                        March 10, 2021
               upon the Defendants on or before ___   xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
                                                           o’clock in the ____ noon on _____________, 2021, by
their authorized registered agents, or their attorneys who agree to accept service on their behalf, or by U.S. mail at
Defendants' last known business address, whichshall be deemed good and sufficient service; and it is further
               ________________________,
                                                                                                                       3/29/21
                       ORDERED that any opposition by Defendants be filed with this Court on or before xxx              __

              xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
              o’clock in the ____ noon on _____________, 2021; and it is further
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        xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
        ORDERED that any reply papers by Plaintiffs be filed with this Court on or before

 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
 __ o’clock in the ____ noon on _____________, 2021; and it is further

        ORDERED that the Defendants are advised that failure to respond to the Order to Show

 Cause may be grounds for the granting of a default judgment against them, in which event the

 defendants will have no trial; and it is further

        ORDERED that the Plaintiffs shall file proof of service of this Order to Show Cause
       3/10/21
 by _____________, 2021.




Dated: March 5, 2021
       New York, New York




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